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 1                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                 CRIMINAL.: 11-009 (DRD)
 7        [17 ] IENLIDYS RUIZ-DÍAZ,

 8        Defendant.
 9
                        MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
10                          RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
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     I.         Procedural Background
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                On January 11, 2011, a grand jury returned an indictment against [17] Ienlidys Ruiz-Díaz
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     (hereinafter referred to as “defendant”). (Docket No.3.) The defendant has agreed to plead guilty to
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     count one of the indictment. Count one charges that beginning in or about August 9, 2009, and
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     continuing up to an or about December 7, 2010, in the District of Puerto Rico and within the jurisdiction
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     of this court, [17] Ienlidys Ruiz-Díaz did knowingly and intentionally, combine, conspire and agree with
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     other persons known and unknown to the grand jury, to commit an offense against the United States,
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     that is to knowingly and intentionally possess with intent to distribute and/or to distribute controlled
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     substances, to wit, Oxycodone, a Schedule II controlled substance, within one thousand (1,000) feet of
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     the real property comprising a public housing project, as prohibited by Title 21, United States Code,
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     Sections 841(a)(1) and 860, all in violation of Title 21, United States Code, Section 846.
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     II.        Consent to Proceed Before a Magistrate Judge
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                On May 18, 2011, while assisted by counsel, the defendant, by consent, appeared before the
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     undersigned in order to change her previous not guilty plea to a plea of guilty as to count one of the
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     indictment. In open court the defendant was questioned as to the purpose of the hearing being held and
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     was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be
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     conducted under oath and that it was expected that her answers would be truthful; (c) the potential
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 2   consequences of lying under oath (such as a perjury charge); and (d) her right to have the change of plea
 3   proceedings presided by a district judge instead of a magistrate judge. The defendant was also
 4   explained the differences between the appointment and functions of the two. The defendant consented
 5   to proceed before the undersigned magistrate judge.
 6   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
 7            A.      Rule 11(c)(1) Requirements
 8                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
 9            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
10            guilty does so with an ‘understanding of the nature of the charge and consequences of
              her plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
11            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
12            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
13
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
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              B. Admonishment of Constitutional Rights
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              To assure defendant’s understanding and awareness of her rights, defendant was advised of her
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     right:
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              1.   To remain silent at trial and be presumed innocent, since it is the government who has the
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     burden of proving her guilt beyond a reasonable doubt.
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              2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
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     to her decision not to testify.
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              3.   To a speedy trial before a district judge and a jury, at which she would be entitled to see
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     and cross examine the government witnesses, present evidence on her behalf, and challenge the
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     government’s evidence.
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              4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
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     convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
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              5.   To use the subpoena power of the court to compel the attendance of witnesses.
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 2              Upon listening to the defendant’s responses, observing her demeanor and her speaking with her
 3 attorney, that to the best of counsel’s belief defendant had fully understood her rights, it is determined
 4 that defendant is aware of her constitutional rights.
 5              C. Consequences of Pleading Guilty
 6              Upon advising defendant of her constitutional rights, she was further advised of the consequences
 7 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having her
 8 guilty plea accepted by the court, she will be giving up the above rights and will be convicted solely on
 9 her statement that she is guilty.
10              In response to further questioning, defendant was explained and she understood that if convicted
11 on count one as charged she will face not more than twice the following penalties: a term of
12 imprisonment of not more than twenty (20) years, a fine not to exceed $1,000,000.00, or both and a
13 term of supervised release of at least three (3) years.
14              The defendant was also explained what the supervised release term means and that if she violates
15 the conditions of supervised release, that privilege could be revoked and she could be required to serve
16 an additional term of imprisonment. She was also explained that parole has been abolished. In addition,
17 defendant was made aware that the court must impose a mandatory penalty assessment of one hundred
18 dollars ($100) per offense pursuant Title 18, United States Code, Section 3013(a).
19              D. “Type C” Plea Agreement1
20              The parties have entered into a written plea agreement that, upon being signed by the
21 government, defense attorney and defendant, was filed and made part of the record. Defendant was
22 clearly warned and recognized having understood that the court may accept or reject the plea agreement,
23 or may defer its decision whether to accept or reject the plea agreement until it has considered the pre-
24 sentence report. If the court rejects the plea agreement, the court will inform the parties of this fact and
25 afford the defendant an opportunity to withdraw the guilty plea and advise the defendant that if she
26 persists in a guilty plea, the disposition of the case may be less favorable to the defendant than the
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                      “Plea agreement” refers to the agreement and its supplement.
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 1                                                       4
 2 defendant contemplated in the plea agreement. Defendant acknowledged having understood these
 3 explanations and all the terms and conditions of the plea agreement.
 4            E. Government's Evidence (Basis in Fact)
 5            The government presented a summary of its evidence consistent with the version of facts of the
 6 plea agreement with which the defendant concurred. Accordingly, it is determined that there is a basis
 7 in fact and evidence to establish all the elements of the offense charged.
 8            F. Voluntariness
 9            The defendant accepted that no threats had been made to induce her to plead guilty and that she
10 did not feel pressured to plead guilty.
11            G. Waiver of Appeal
12            The defendant was explained, and she understood, that if the court accepts the plea agreement
13 and sentences her according to its terms and conditions, she will be surrendering her right to appeal the
14 sentence and judgment in this case.
15 IV.        Conclusion
16            The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
17 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
18 and examining the defendant under oath and in open court, concerning each of the subject matters
19 mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent to enter
20 this guilty plea, is aware of the nature of the offense charged and the maximum statutory penalties that
21 the same carries, understands that the charge is supported by the government’s evidence, has admitted
22 to every element of the offense charged, and has done so in an intelligent and voluntary manner with full
23 knowledge of the consequences of her guilty plea. Therefore, I recommend that the court accept the
24 guilty plea of the defendant and that the defendant be adjudged guilty as to count one.
25            This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections
26 to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its
27 receipt.     Fed. R. Civ. P. 72(b).       Failure to timely file specific objections to the report and
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 2 recommendation is a waiver of the right to review by the district court. United States v. Valencia-
 3 Copete, 792 F.2d 4 (1st Cir. 1986).
 4         SO RECOMMENDED.
 5         In San Juan, Puerto Rico, this7th day of June, 2011.
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                                                 s/Marcos E. López
 7                                               U. S. MAGISTRATE JUDGE
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